                  Case: 1:23-cr-00539-PAG Doc #: 12 Filed: 09/05/23 1 of 3. PageID #: 110

AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                          NorthernDistrict
                                                       __________ Districtof
                                                                           of__________
                                                                              Ohio

                   United States of America                             )
                              v.                                        )
                         Deshaun Martin
                                                                        )      Case No.      1:23-MJ-9174
                                                                        )
                              Defendant                                 )

                                        ORDER OF DETENTION PENDING TRIAL
                                                        Part I - Eligibility for Detention

     Upon the

               ✔ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
               u
               u Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

  u A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
         u (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
             u (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             u (b) an offense for which the maximum sentence is life imprisonment or death; or
             u (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
             u (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                jurisdiction had existed, or a combination of such offenses; or
             u (e) any felony that is not otherwise a crime of violence but involves:
                (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
         u (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
           § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
           to Federal jurisdiction had existed; and
         u (3) the offense described in paragraph (2) above for which the defendant has been convicted was
           committed while the defendant was on release pending trial for a Federal, State, or local offense; and
         u (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
           defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

                                                                                                                   Page 1 of 3
                  Case: 1:23-cr-00539-PAG Doc #: 12 Filed: 09/05/23 2 of 3. PageID #: 111

AO 472 (Rev. 11/16) Order of Detention Pending Trial

   ✔ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
   u
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         u✔ (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
            U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         u (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
         u (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
            or more is prescribed;
         u (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
            imprisonment of 20 years or more is prescribed; or
         u (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
            2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
            2260, 2421, 2422, 2423, or 2425.

   ✔ C. Conclusions Regarding Applicability of Any Presumption Established Above
   u

            u The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
              ordered on that basis. 3DUW,,,QHHGQRWEHFRPSOHWHG

                OR

            ✔ The defendant has presented evidence sufficient to rebut the presumption, but after considering the
            u
              presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   ✔ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
   u
     the safety of any other person and the community.

   u By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
     the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       ✔ Weight of evidence against the defendant is strong
       u
       ✔ Subject to lengthy period of incarceration if convicted
       u
       ✔ Prior criminal history
       u
       ✔ Participation in criminal activity while on probation, parole, or supervision
       u
       ✔ History of violence or use of weapons
       u
       u History of alcohol or substance abuse
       u Lack of stable employment
       u Lack of stable residence
       u Lack of financially responsible sureties


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                  Case: 1:23-cr-00539-PAG Doc #: 12 Filed: 09/05/23 3 of 3. PageID #: 112

AO 472 (Rev. 11/16) Order of Detention Pending Trial

        u Lack of significant community or family ties to this district
        u Significant family or other ties outside the United States
        u Lack of legal status in the United States
        u Subject to removal or deportation after serving any period of incarceration
        u Prior failure to appear in court as ordered
        u Prior attempt(s) to evade law enforcement
        u Use of alias(es) or false documents
        u Background information unknown or unverified
        ✔ Prior violations of probation, parole, or supervised release
        u

OTHER REASONS OR FURTHER EXPLANATION:
        Mr. Martin presented some evidence to rebut the presumption that he is a risk of flight and danger to the community. This is not a
 heavy burden. United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). But the Government met its burden of persuasion by
 demonstrating by clear and convincing evidence that Mr. Martin is a danger to the community or others.
        1) 18 U.S.C. 3142(g)(1): Mr. Martin is charged with conspiracy to distribute and possession with intent to distribute controlled
 substances, possession with intent to distribute controlled substances, conspiracy to launder money, and felon in possession of a
 firearm. While the instant case primarily involves marijuana, fentanyl was recovered in the business of Mr. Martin's co-defendant.
 Numerous courts within the Sixth Circuit have recognized that fentanyl is an exceptionally dangerous drug. See, e.g., United States v.
 Holden, 2017 WL 1362684, at *2 (E.D. Ky. April 12, 2017) ("The danger associated with trafficking in heroin [and] fentanyl leading to
 near fatal overdoses cannot be overstated.”) And a firearm and ammunition were discovered in Mr. Martin's residence, as well as
 marijuana, suspected crack cocaine, and multiple other items consistent with drug trafficking. This factor therefore weighs in favor of
 detention.
        2) 18 U.S.C. 3142(g)(2): The Pretrial Services Report ("Report") outlines Mr. Martin's criminal history dating back to 2007, when
 he was 18 years old. The Report sets forth Mr. Martin's convictions for violent crimes including felonious assault (in 2007) and
 aggravated burglary, receiving stolen property, and having weapons while under disability (in 2008), for which he was sentenced to a
 13-year prison term. During a traffic stop in Alabama in February 2022, law enforcement officers discovered Mr. Martin and his
 co-defendant were transporting 35 pounds of marijuana. And a firearm, ammunition, narcotics, and other items consistent with drug
 trafficking were recovered in Mr. Martin's residence during the execution of the search warrant. Because the weight of the evidence of
 dangerousness is strong here, this weighs in favor of detention.
       3) 18 U.S.C. 3142(g)(3): A review of the history and characteristics of Mr. Martin also weighs in favor of detention due to danger to
 the community and others based on the nature of the offense, prior arrests and convictions, history of violent behavior, history of
 weapons use, and criminal history. This factor therefore weighs in favor of detention.
        4) 18 U.S.C. 3142(g)(4): For the reasons set forth above, this factor therefore weighs in favor of detention.
       The Court does not concur with the recommendation of Pretrial Services that there is a condition or combination of conditions that
 would ensure the safety of the community if Mr. Martin was released. As the Second Circuit has recognized, "home detention and
 electronic monitoring at best replicate a detention facility without the confidence of security such a facility instills." United States v.
 Hanson, 2022 WL 1813585, at *6 (N.D. Ohio May 3, 2022); see also United States v. Smoot, 2020 WL 1501810, at *3 (S.D. Ohio Mar.
 20, 2020) (rejecting defendant's request for home confinement because “Defendant's extensive criminal history establishes that he
 has been unable or unwilling to remain law-abiding for most of his adult life; hence, the Court has no reason to believe that he would
 suddenly become compliant now.")




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date:                 09/05/2023                                               s/Jennifer Dowdell Armstrong
                                                                                 United States Magistrate Judge




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